AO 199A (Rev. 12/11)Case    1:15-cr-00209-LJO-SKO
                     Order Setting Conditions of Release   Document 23 Filed 08/12/15 Page  11of
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                                  UNITED STATES DISTRICT COURT
                                                            for the
                                                 Eastern District of California
                                                                                                FILED
                                                                                                    AUG 1 2 Z015
                                                                                             CLERK, U.S. DISH~ICT COURT
                 United States of America                                                  EASTERN DISTRICT OF CALIFORNIA
                                                                 )                         BY      ~c                pO
                             V.                                  )                                    DEPUTY CLER~    '-....

                                                                 )      Case No.      1:15-cr-00209-LJO-SKO
                     NINA JOHNSON                                )
                         Defendant
                                                                 )

                                  ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:       United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                  Place
      Courtroom 7 before Magistrate Judge Sheila K. Oberto

      on                                                    10/5/2015 at 1:00PM
                                                              Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
                  Case
AO 1998 (Rev. 09/08- EDCA 1:15-cr-00209-LJO-SKO
                          [Fresno]) Additional Conditions of Release Document
                                                                     (General) 23                                     5 [I) of
                                                                                             Filed 08/12/15 Page 2 of Page                      0 Pages
JOHNSON, Nina Chavon
Dkt. No. 15cr209-05
                                                ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0     (6)         The defendant is placed in the custody of:

                      Name of person or organization
            who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance ofthe
            defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
            release or disappears.

                      SIGNED:-----,---------
                                        CUSTODIAN
0     (7)         The defendant shall:
      0           (a) report on a regular basis to the following agency:
                      Pretrial Services and comply with their rules and regulations;
                  (b) report telephonically to the Pretrial Services Agency on the first working day following your release from
                      custody;
                  (c) cooperate in the collection of a DNA sample;
                  (d) travel restricted to the Eastern District of CA, unless otherwise approved in advance by PSO;
                  (e) report any contact with law enforcement to your PSO within 24 hours;
                  (f) you shall reside at and participate in the WestCare Residential Treatment Program, as directed by
                      program staff and Pretrial Services; You shall remain at the Fresno inpatient facility until released by the
                      Pretrial Services Officer; A responsible party approved by Pretrial Services, shall escort you to all
                      required court hearings and escort you back to the program upon completion of the hearing;
                  (g) not associate or have any contact with: Ricardo Cruz Gomez Jr., Marquiz Demitric Tucker, Labrea
                      Leshawn Davis and Robin Lee, unless in the presence of counsel or otherwise approved in advance by the
                      PSO;
                  (h) participate in a cognitive behavior treatment program as directed by the pretrial services officer. Such
                      programs may include group sessions led by a counselor or participation in a program administered by
                      the Pretrial Services office;
                  (i) refrain from possessing a firearm/ammunition, destructive device, or other dangerous weapon;
                      additionally, you shall provide written proof of divestment of all firearms/ammunition, currently under
                      your control;
                  (j) submit to drug or alcohol testing as approved by the Pretrial Services Officer. You shall pay all or part of
                      the costs of the testing services based upon your ability to pay, as determined by the Pretrial Services
                      Officer;
                  (k) refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance without a
                      prescription by a licensed medical practitioner; and you shall notify Pretrial Services immediately of any
                      prescribed medication(s). However, medical marijuana, prescribed or not, may not be used;
                  (l) participate in a program of medical or psychiatric treatment including treatment for drug or alcohol
                      dependency, as approved by the PSO; you shall pay all or part of the costs of the counseling services
                      based upon your ability to pay, as determined by the PSO;
                  (m) upon successful completion of the WestCare you shall reside at an address approved by Pretrial Services
                      and you shall not change your residence or absent yourself from this residence for more than 24 hours
                      without the prior approval of the Pretrial Services Officer;
                  (n) upon successful completion of WestCare, you shall participate in a program of medical or psychiatric
                      treatment, including treatment for drug or alcohol dependency, as approved by the PSO; you shall pay all
                      or part of the costs of the counseling services based upon your ability to pay, as determined by the PSO;

                  USMS SPECIAL INSTRUCTIONS:

                  (o) have your release on bond delayed until Monday, August 17, 2015, at 10:00 a.m., at which time,
                      you will be released directly to WestCare staff for immediate transportation to the program.
                     Case[Fresno])
AO 199C (Rev. 09/08- EDCA  1:15-cr-00209-LJO-SKO
                                   Advice of Penalties                                              _3___
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                                                    ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fme, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       ( 1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fmed
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fmed not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fmed not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                        Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                      Directions to the United States Marshal

( [Z]) The defendant is ORDERED released after processing.



Date:   _q"-~---{+--6/z...,.........J/.......__L_
                                                              Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                       Printed name and title




                        DISTRIBUTION:         COURT    DEFENDANT    PRETRIAL SERVICE   U.S. ATTORNEY        U.S. MARSHAL
                  Case 1:15-cr-00209-LJO-SKO Document 23 Filed 08/12/15 Page 4 of 5
AO 98 (Rev. 12/11- EDCA [Fresno]) Appearance Bond



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                 Eastern District of California
UNITED STATES OF AMERICA,
                                                                        )
                                                                        )
                                 v.
                                                                        )
                                                                                Case No.        1:15-cr-00209-LJO-SKO
                                                                        )
NINA JOHNSON                                                            )
                             Defendant

                                           APPEARANCE AND COMPLIANCE BOND

                                                         Defendant's Agreement
I,   Nina Johnson                                               (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited ifl fail:
            ( ~ ) to appear for court proceedings;
            ( ~ ) if convicted, to surrender to serve a sentence that the court may impose; or
            ( ~ ) to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                               Type of Bond
( ~ ) ( 1) This is a personal recognizance bond.

( D ) (2) This is an unsecured bond of$                                                       , with net worth of: $

( D ) (3) This is a secured bond of$                                                  , secured by:

        ( D ) (a) $                                   , in cash deposited with the court.

        ( D ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan -and attach proof of
                 ownership and value):



                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        ( D ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):



                                                    Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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AO 98 (Rev. 12111- EDCA [Fresno]) Appearance Bond



Release of the Bond The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                         Declarations

Ownership of the Property/Net Worth. I, the defendant- and each surety- declare under penalty of perjury that:
         (1)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not reduce my net worth, sell any property, allow further claims to be made against any property,
                   or do anything to reduce the value while this Appearance and Compliance Bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.




I, the defendant- and each surety- declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)


Date:
        - -8/12/2015
            -----



                Surety/property owner- printed name                         Surety/property owner- signature and date




               Surety/property owner -printed name                          Surety/property owner- signature and date




               Surety/property owner- printed name                          Surety/property owner- signature and date




                                                                CLERK OF COURT


Date:
                                                                                Signature of Clerk or Deputy Clerk

Approved.

Date:    <t/f?,/{ L
